Case 1:19-cv-02769-TSC Document1 Filed 09/13/19 Page 1 of 9

 

 

 

 

 

 

 

 

WATE STATES SisTAicT CURL YOR Te SisTMicl_ of CHumwea

 

929 CONSTIUT ION WEIUE, all

 

 

LIASMIN ETAL Se Joo

 

 

 

Case: 1:19-cv-02769

 

Assigned To : Unassigned —
Assign. Date : 9/13/2019

 

Description: Pro Se Gen. Civ. (F-DECK) =

 

 

 

 

 

 

 

 

 

 

 

 

RECEINED
r— Mail Room

ey

 

 

 

SEP | 3.099

 

 

 

 

 

 

 
Case 1:19-cv-02769-TSC Document1 Filed 09/13/19 Page 2 of 9
UNITES STATES STSTRICT AwS BANWRUPTCY Counts
FO THE SISTALCT oF COLUMBIA

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Nameot Thmokes Tdontr Orr whom: No. Unit Cel Ne
ne Savon Waller 3\4-00% oo a
hevin Aancld —_aB8lols SUR 5a
AcKnis \weasto Vo l- ABH Sw Qh
Seocioes James Qannell 199-414 NN
a henneth \athins 204-484 83 U2
boom born AA\-bLO SU Lg
| sawood Thorne. She ILO Sw 42
Anthony Moseley AN4-G\lo S33 2b
AlPehdas Trackan 344-061 $63 i
Col hearcness 54-301 Siu 95
Tertcuo VWecourt 318-598 Stuy ud
Tecrance Meenes SE1-A4% Sid 9S
huane Gurdon AI ALS Sid Bey
Shoek “deen  Sdd- 04 Sw 3]
Bose Mvarek 368-507 sa
[ orrey You 211-413, Sua AD
Jesce. Poul ABS - B14 Sui 12.
| Madnade Sasebule BE-Na sus 9.
| Muakin Livesay S430 Swi i
| Mathers Lusby Sabb SHo Cigh iS
- | Adam Vostes 363-55) SWS in
nam | Antonio Fox 358-54 Sku I —
| Anthony C rouatard Y4-94\, Sis 18 a a
Llu Sohason 205-4 Sia 22 ca 2
Tony Thomas vB Yel Sw 2A 2
banke ean 219: \43 Sw 2) —
—__Pduroed Magrudes DXODNA os gg

 

| Lonkinved--
Case 1:19-cv-02769-TSC Document1 Filed 09/13/19 Page 3 of 9

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

eae _tlatas_cl Tamutes Toontrtecetien le Unik Lal as eet
oe Nantel cVbelaun 563-4 2-1 Siw YO
as | locry Visher _ 347-125 SW3 34
| Node Santzler —- SbI- 495 S02 1s
a — Pichu Loahy e924 Sw
dondus Tohiason 200-316 S03 53
Lereigly Fecquses dla-252 SWs SY
Rodney Vromas _ 98-13). Suh 38
ie —WMiekor Sohossn 46334 ws
| Latah Chapows Sik: 25 | S02 4
Toe Malton a 4S-4RO Qi 5% +6
Savi ides HM - BRi S03, i.
Miche hiel dnnean MAB aye, Wy =
Vue Moghul B14-374 Sw 14
Tycell eaclley 331-343 S0>
Beata d Laccol\ SA -bb4 f\)3 a1
Polos MVNore?soy A-QUD.  D-IA 14
Wichoel Achnsta 26) BLY S-1A HE
Crets Locledale, 407-744 D-14 ho
Dandoloh Mivers 920-744 Bs -1 \\
Chase — 3bb- Sol bie 4
| Meng Prisoners of diskerd ol Colundbin Sepalmen of Coormctteng
— (901 f Sbre ot ve Woshinaten | Sigkeicl \ of Columbia Qos
Ve, CTVIL NTLow al. -
Kistrick of Colusbin - bePactment ofl Carrechions. a
IQol &. Sheot Se

 

 

Ldeshia bs . bistciet oh Columbian 2oody

 

 

 

 

 
wae Oa ey Pa FIR A SERRA o7 Bursts

For THe WESTALCY OF COLUMBIA

eden SS =}

 

 

 

is lek, p of Laue a! LorGestioas eal

[ave vi rules Ws ot | Posed Unler AUS, (81983

 

Chase fe tinn I us Sur Ah .

 

 

 

 

Kode. Froanlh Flyin “aso, chins Uinskon "67-434, von USollher ——

 

 

Tames Qanell 14-407, Vevin Nenold 288-106, Dave Burdon 26363

 

 

 

 

 

eth bel on tha Bowe of Yh build, iN tA, (un? \ 03), here oll

As cood N\ Yhe olove tamales, lho subteced 2a Yn Pacad tog daylight
long, ih hus acocdatng, ntolats. ok No NO Sal { eatral \ Ye akinn

 

dS hatndows ove. 20 led 3 Ye common orea Ynroudnoo' Whe uci, includi iG

he ta “ee (ut Sur

[Me tell cooms wich cndhes Yhe exeossive heal even Lovee, (ce —
| tierton) Dre. aati Soe on eskimo, of 1 mm: As ton to be vaworded bo

Nored from suse \, S014 4s Sohy 2 Old ahi ch is
Vo. coy Whe tametes Were lenadbes con Buon f Ye Nes Sal (cesteroh S \ Nbent, of

 

 

aay ts the enteral Tee Teestiment Fou. meh, Moss as cre !

 

 

 

 

a alatad ie, Ha iS cweuccke and he onl occurred os. duked abeve. veesee

 

 
case -OHARTOPTSE PORRENLA ARLHS BAPRCT
Class Nano. Lawsuit

 

 

D.C. Prisoners,

 

 

Vs

 

 

 

ickcick ol Columbia Kepwtmet ob Conemettica SS

 

 

ho a Moock Ned neadou, Tu NTO SC. Sntnekes wee escocted to Ye

 

 

Central \clenMton Foil Ree Yee oe etdon’ ok tomate. Noncantel Nigsbu
N.C "959-550 Lalo angacents Clans d_due bo \ho severe tk conditions —

 

usilhin Yoo Conia Nelention Faia. Lingala vty of dle Yoel. Wov bmn

 

Wwis US Nist boxes 19425 és. ult Apr b.9015). Several titnesses shited

 

 

Hak Ye tnetdent occuced oeound b:290.0 on “Gesday Thy b,Q014 ig

 

aan. ys TL uo the antes Souocds. Yay dmbeiiies. iter. “unit ——

oll cars Were leu

 

 

 

ue bo Yoo curceat thuntien with (Wr. No\vaniel Siqsloy Ne'69 5s

 

anyone cao id \he bem peratures ob alery cell in_uclt SN. lo did ons

 

ov Yo Mivors Lascbina Na cde (a9) dena oe ods Yoo tinonakes tb

 

 

he use YS Nop oad issues walt Ya. oxkeeemely nk Semperaiiuices,
Yoednar or ory \ moronn Nad Kanna ds Dioo h Yressurce. oc

 

posi onysne. ob Yaa Tomas abost The Yhey Wh ob Wa essere bine

 

 

oF Yo oceident Poyolutang “\c. Nol naniel Niegidy “94-590, Me, myselt

 

Me. Feanth Fiyvhe, N.CB35-201, sede wilh cneome core. and talseoed st
Yer Shae Ye. crams were %ndaod Yao Wok \o Soy MN ony Nonage, and |

 

Prypested. Wit \osedad ‘0 be. moved tonmedicksly on Lednesdny Thursday,

 

 

 

ad Fe doy ol last weak, obouk my healing and | ‘eek IZA) 8
Occasions. Mong wth she uM xengiay up-cad down Loom o top bunk

 

Hood with @ Sncn Aches “tend 6M oes _—!

 

 

 

Conk Vaued oe:
Case 1:19-cv-02769-TSC Document1 Filed 09/13/19 Page 6 of 9

 

 

Mila Me. Wns Wrastss SCAU. ube was alse vy Yhw Su undein 3
alone with Ma Pdaard Moacuder *s.C “Q40-G4%. ey plained be is mom oA

 

lori Wtbobian the he Thad «nose, Weed die to She hit conditions
{aa ys call. MWe Winakor also documented \etbers oy Groot rok he a

 

Weobe > Sesrercal Vem ly Members about \nwy lho femperokues ot | Ws

 

cell, TY wns also atuked Yok We Linaksn SC 967-934 evan wicbben a

 

lebker home ‘to Wis Vatds’ mom — Yoat le wooed hee by gek Chaanel S_

 

 

News tavolved, eS)

 

 

Woe a Ve. malas wm S33 complacneid abot ark beta olale ks hacdly

 

hreothe. to na enviro amen madi tdvie ol Sho anmaes solered Smin

 

ne. days P\ pun yne. \, 9014 ts Quly 17,2014 Ye day Voad Yoo

 

Cental Doledkion iliby escorted inmates be Yoo Cenbrw Teeabmen’

 

Faviliby, The A¢/or Veatiny system can nak pocsity sel at \ha SC

 

Wail cinch is at Vig moment al View inmates, are Aow housed ot bhe.

 

Conbca\ Tao atmeint Canc a\iky 4

 

 

 

 

Pro-Bp Fronlh Fly he. 244-301, Alcktnis Uinskon “9b1-42H, Savon Waler"2-005

 

Aoniss Deane “\AQ ANA Mevia Nepold “388-\0b Duane. Gurdon “2b bed)

 

 

Under D.C Code HA U.S.c¥ 19S Class Nedion Lew suit, T ochosledye

 

 

Drake wall Vivie: tvenret ean Qerka: N04 be ye 30. Nemertc tre nitcnbe, onl

 

 

 

 

Namo, a Tamees “bese ve, nit - cell No-
Naven Walker 3JA-O63 Sws Yr

 

Mrevin Nensld = BA-lob SB. S$.

 

 

 

 

 

 

Cons ved Su oe
A\rodnmen* N

Case 1:19-Ey Pato CR eONQuEr ANE NMRA ARIa ofageFnohts
Cor THE SSisTRICT oF COLUMaIK

 

[[Penaent Yo Callecltan af of fees From, Tous Neouok
Su ona Risonucs of Diskrick - Calum iehequtemiai tat crectlons

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

shes. \ gh Cure rade ol t Correcdions
Civil Nb on Ap. ee
a —__tIMhero ts: She names 00 - dentidicak's “ads ode. bind Ors woul buco, hee |
less be be apg ordlash NiNhSb Seog a 7
Ye agedbes i Oso. Ye Qs ssugrkuse. \s ike, YN
a Aladall a soduse as _
‘nen: — Tide ientian alo: Kode Qranohyre)
Dover Wallher 16-083 V2 4 Flew bdablhe
Yevin Acaold 282-106 1-2-9 feu CEP
Qclrats Last 267-424 q-2-19 4. Ontinds pinot
Tames Panel 199.414 = — Ty pote bo
| Maney Wallin 200-484 ae ~IG " = t) i SEs
Senn \oca ‘241 -LL0 ae 2 “4 aa See -
- | Lavusscl Thane. She LO gs fata a
Gather “aseley N= Yl 9~2- a a |
Nidndas (recon SM Yel =a 2-/ "Lad |
Rae *encney “8 DOG
- Recicsse Wisse -S28 ; 2- st face Lee
De Ne counts hones Hey-G4s 4-2-4 fe vesce Pesan
Sone Saucon OMe M__ 4:21 Yuen Pody be
ne ___lIMrdnoe\ Sent nonin Apo- 404 _& ely Toichaol Louye i
(arenas

 
 

   

 

 

 

 

 

 

 

 

 

Qechmnote- RB Case 1:19-cv-02769-TSC Document1 Filed 09/13/19 Page 8 of 9
| Names Tent heukios Jy) Solas. Stenotuce ti
Ls Bose Nivarey 33-58 Fat fs
ae | Locrey eae AVY G- “lt C, jos
7 ‘Texse ad PQS HR a ps
Tchad Noeabels 20-27 KPa
ee Sushi livesay oo 26-430 ae YAM4 ZL & ;
Timeless Landy also 9-14 Wher J
| Adam Gosker BER SS| A194 Or
Td Ankoato tox DMB SSq_ A - 2-1
Mahony Leouslued NG-9y4 72-17
Aiea Waasea S183 9- 2-|4
Tony Thomas Nob 4.214 ™
Sante Woon DIK \YQ Q-2-14 flee dma mre

 

 

Ss waite’ Vohelen DUR: 4o\

Edwocd “Mo acuder Ho- G4. — fali £ [laghitils, i

 

Lovey Fislye 347-798

9-23-19 fdsih Ml. 7
7. = Ky fhe

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Nader Sontoler  el-495 4-2-14
Prrclhy Loaty oe 424 4.2.44
Ramachs Rae ‘DhN 2 60- B\b Q- “a \4A 9

a eccish Forty o-2-S2, 4G 2-19 Phan

ee {Podiney _ Thomas 3: pa * 42: “Ot < Se Tense =|
Nicke Saharan OHS A-D-1Q

[Totes Chapman 24b-9S| 9-2-4 ebgatal Cir yprng

Nol Muhong 38-480 ‘1 ~ 2M eR

__ Sow d Sachsen BUBB) 7 / z/20/¢ f Kup Eacleccee
1M cMe\ Aghvagsn S43 _ 72 4A [Peat

ea Morse — BY- BTR 2 =

 

Tye Gerby  3. we qa ls

DaA-bby

 

4 Pog nolo (acco lL

  

TIAN
AU n ak fil Case 1:19-cv-02769-TSC Document1 Filed 09/13/19 Page 9 of 9
M wv

 

 

 

 

 

 

   
 

 

 

plomuss cdenkNicubioa Jo: Yseles Sianatys _
Michwe\ “Sohnzen WoV-ReY \-2°A Hap let po
Monday ‘Hivecs R044 q De 9 c
Cras Dorhaddle 9-144 oH pele
Over Nocrisen YR IN. 4-244 yy
(hare. Yl Sol 7-12-14 bap. (pret ~
Fluthe Franls Ao 32 9-2

 

Kesina lol Cacco! | 553)-be of ¢-2-

 

 

 

 

 

 

 

Frank Flymte fb ll $3532 |

“hes (onkesk b Nsshinedian Sancti \y
\Qoi ¢ Ghreot Se

LWochingbisa SC. 3

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
